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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

Addendum to Notice of Hearing Type: Initial Scheduling Conference

INSTRUCTIONS:
        ORDERED THAT: (1) Prior to the initial scheduling conference, all counsel,
including individuals who are appearing on his/her own behalf (or “Pro Se”), confer to
agree on a joint discovery plan. SEE LOCAL CIVIL RULE 26.1(b); (2) Not later than
seven (7) days prior to the above conference, the joint discovery plan, and any disputes
regarding it be submitted to the undersigned. SEE LOCAL CIVIL RULE 26.1(b); (3) At
the above conference, all parties who are not appearing pro se be represented by counsel
who shall have full authority to bind their clients in all pretrial matters. SEE LOCAL
CIVIL RULE 16.1(a); (4) Plaintiff(s) notify any party who hereafter enters an appearance
of the above conference and forward to that party a copy hereof; and (5) The parties are to
advise the Court immediately if this action has been settled or terminated so that the above
conference may be cancelled.
        Finally, counsel and litigants are advised that, pursuant to Fed. R. Civ. P. 26, 30 and
33 early disclosure requirements and limitations on depositions/interrogatories will be
enforced. Therefore, pursuant to the early disclosure requirements, counsel shall exchange
the following information without formal discovery requests:
                 (i)    identities of individuals with knowledge of disputed facts;
                 (ii)   documents and things in the possession of counsel or the parties
                 regarding the disputed issues;
                 (iii)  insurance agreements in force; and
                 (iv)   statement of the basis for any damages claimed;
         and it is further
        ORDERED that the meeting of parties required by Fed. R. Civ. P. 26(f) shall take
place within 14 days of the date of this Order;
        and it is further
        ORDERED that upon the entry of appearance of any new and/or additional counsel
subsequent to the date of this Order, plaintiff’s counsel shall send a copy of this Scheduling
Order to the newly appearing attorneys(s), but on any third party claim, the counsel for the
third party plaintiff shall send a copy of this Order to the newly entering counsel for third
party defendant(s).
                ORDERED that all parties shall confer to agree and submit a JOINT
DISCOVERY PLAN to the Magistrate Judge not less than seven (7) days prior to the
above-stated conference date, as required by Local Civil Rule 26.1(b) of this court. The
conference date should appear on the caption of the Joint Discovery Plan, which shall
include at a minimum, the following items: (1) a brief factual statement of the claims or
defenses in the action, as well as a brief statement of the legal issues in the case; (2) a
description of all discovery conducted by the parties to date; (3) a description of all
discovery problems encountered to date, the efforts undertaken by the parties to remedy
these problems, and the parties suggested resolution of the problems; (4) a description of
the parties further discovery needs; (5) the parties estimate of the time needed to complete
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discovery; (6) a statement regarding whether expert testimony will be necessary, and the
parties anticipated schedule for retention of experts and submission of their reports; (7) a
statement regarding whether there should be any limitation placed upon use of any
discovery device and, if so, the reasons the limitation is sought; (8) a description of any
special discovery needs of the parties (e.g., videotape/telephone depositions, problems with
out-of-state witnesses or documents, or discovery of digital information). See, L. CIV. R.
26.1 (d).

       Sanctions may be imposed pursuant to F ED. R. CIV. P. 16(f) if counsel or an
individual unrepresented by counsel either fails to appear at the conference or appears
unprepared. Each litigant attending the conference shall be fully familiar with the file, and
have authority to bind their clients in all pretrial matters.
                                              /s/ Douglas E. Arpert
                                             HONORABLE DOUGLAS E. ARPERT
                                             UNITED STATES MAGISTRATE JUDGE

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                      ALTERNATIVE DISPUTE RESOLUTION
          IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                                NEW JERSEY

        Mediation is the Alternative Dispute Resolution (ADR) program in this Court. Mediation
                                          is governed by
          1. Local Civil Rule 301.1. The mediation program under this rule is supervised by a
    judicial officer (currently United States Magistrate Judge Leda Dunn Wettre) who is
                       available to answer any questions about the program.
        Any district judge or magistrate judge may refer a civil action to mediation. This may be
done without the consent of the parties. However, the Court encourages parties to confer among
 themselves and consent to mediation. Moreover, you are reminded that, when counsel confer
pursuant to Rule 26(f) of the Federal Rules of Civil Procedure and Local Civil Rule 26.1, one of
  the topics that must be addressed is the eligibility of a civil action for participation in ADR.

        A civil action may be referred to mediation at any time. However, one of the advantages
 of mediation is that, if successful, it enables parties to avoid the time and expense of discovery
 and trial. Accordingly, the Court encourages parties to consent to mediation prior to or at the
 time that automatic disclosures are made pursuant to Rule 26(a)(1) of the Federal Rules of
                                           Civil Procedure.
            If parties consent to mediation, they may choose a mediator either from the list of
certified mediators maintained by the Court or by the selection of a private mediator. If a civil
action is referred to mediation without consent of the parties, the judicial officer responsible for
                        supervision of the program will select the mediator.
      Mediation is non-judgmental. The role of the mediator is to assist the parties in reaching a
   resolution of their dispute. The parties may confer with the mediator on an ex parte basis.
   Anything said to the mediator will be deemed to be confidential and will not be revealed to
 another party or to others without the party’s consent. The mediator’s hourly rate is $300.00,
                               which is borne equally by the parties.

       If you would like further information with regard to the mediation program please review
the Guidelines for Mediation, Appendix Q to the Local Civil Rules. You may also make inquiries
                 of the judicial officer responsible for supervision of the program.

         Civil actions in which there are pro se parties (incarcerated or not) are not eligible for
                                            mediation.
